   Case: 1:18-cv-01459 Document #: 44 Filed: 05/29/18 Page 1 of 9 PageID #:215



                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CYNERGY DATA LLC                                   )
                                                   )
      Plaintiff,                                   )
                                                   )
      v.                                           )       Case No. 1:18-cv-01459
                                                   )
BMO HARRIS BANK N.A.,                              )       Judge John Z. Lee
                                                   )
      Defendant.                                   )




                         CYNERGY DATA LLC’S ANSWER TO
                       BMO HARRIS BANK N.A.’S COUNTERCLAIM

       Plaintiff and Counterclaim Defendant Cynergy Data LLC (“Cynergy”), by and through

its undersigned attorneys, hereby answers the Counterclaim of Defendant, BMO Harris Bank

N.A. (“BMO Harris”), filed May 7, 2018. Cynergy incorporates into each response a denial of

all allegations in the Counterclaim except those expressly admitted herein, and denies any

allegations in the preliminary statement, headings, subheadings, and footnotes of the

Counterclaim, which do not set forth BMO Harris’s claims in numbered paragraphs, as

required by Rule 7(b) of the Federal Rules of Civil Procedure.

       Subject to the foregoing, Cynergy responds to the specific allegations in the

Counterclaim as follows:

                                          THE PARTIES

       1.      Defendant BMO Harris is a large, nationally chartered bank with its principal
place of business in Chicago, Illinois.

       ANSWER: Cynergy admits the allegations in this paragraph.
    Case: 1:18-cv-01459 Document #: 44 Filed: 05/29/18 Page 2 of 9 PageID #:216



        2.      Plaintiff Cynergy is a limited liability corporation engaged in the
 business of providing payment transaction processing to merchants, with offices in
 New York.

        ANSWER: Cynergy admits that it is “a limited liability corporation
engaged in the business of providing payment transaction processing to merchants,”
but denies the remaining allegations in this paragraph.

                                          BIN SPONSOR
                                          AGREEMENT
        3.      On October 23, 2008, BMO Harris and Cynergy executed the BIN Agreement
 under which BMO Harris would sponsor Cynergy into the Visa U.S.A (“Visa”) and
 MasterCard International (“MasterCard”) card associations (the “Associations”).

        ANSWER: Cynergy admits the allegations in this paragraph except those as
to the date of the signing of the document, which are denied.

        4.      Cynergy is an Independent Sales Organization (“ISO”) and is not part of or
 owned by any financial institution. Under the Associations’ rules, regulations, and
 requirements, sponsorship by a bank such as BMO Harris is necessary for Cynergy to process
 Visa and MasterCard transactions for merchants.
        ANSWER: Cynergy admits the allegations in this paragraph.
        5.      As a sponsoring bank, BMO Harris is responsible for maintaining the
 necessary working capital to clear and settle the merchants’ Visa and MasterCard transactions
 and maintaining various bank accounts, including merchant settlement accounts used for the
 transfer of funds to the merchants.
                ANSWER: Cynergy lacks knowledge or information sufficient to form a
 belief about the truth of the allegations in this paragraph.

             CYNERGY’S WRONGFUL RETENTION AND DISCLOSURE OF
                 BMO HARRIS’S CONFIDENTIAL INFORMATION
        6.      The fees BMO Harris charged to Cynergy for these services pursuant to

                                                  2
   Case: 1:18-cv-01459 Document #: 44 Filed: 05/29/18 Page 3 of 9 PageID #:217



the BIN Agreement, along with related guidelines, are detailed in Exhibits A, B, and C
thereto.
       ANSWER: Cynergy admits that the referenced fees are those BMO Harris was
supposed to charge, and it otherwise denies the allegations in this paragraph.
       7.      BMO Harris operates in a highly competitive marketplace with other large
sponsoring banks, and as such, the pricing structures it offers to ISOs such as Cynergy include
highly sensitive, closely guarded proprietary information. If that proprietary information is
made available to BMO Harris’s competitors, it very likely would be used to BMO Harris’s
detriment and undermine BMO Harris’s market position.
       ANSWER: Cynergy denies the allegations in this paragraph.
       8.      The proprietary pricing structures are “Confidential Information,” defined in
the BIN Agreement as:
               information owned or licensed by each party including, but not
               limited to, any information pertaining to the disclosing party’s
               business operations, know how, manner and means of doing
               business, pricing, computer and software systems and
               programming, contracts, marketing strategies, business plans,
               notes, financial projections, financial statements, sales reports,
               technical partners, information regarding third parties doing
               business with either party, requirements and related information
               and any communications whether in oral, written, graphic,
               magnetic, or electronic form, that is known or reasonably should
               be known by the other party to be confidential or proprietary.

BIN Agreement Part I (emphasis added).

      ANSWER:        Cynergy denies the allegations in this paragraph.

       9.      In acknowledgement of the highly sensitive nature of the proprietary
information set forth in Exhibits A, B, and C to the BIN Agreement, BMO Harris and
Cynergy each agreed to
               retain in confidence the Confidential Information and all
               information and data belonging to or relating to the business of
               the other party . . . , and that each party will safeguard such
               information and data by using the same degree of care and
               discretion that it uses to protect its own Confidential Information.

                                                3
   Case: 1:18-cv-01459 Document #: 44 Filed: 05/29/18 Page 4 of 9 PageID #:218



               . . . ISO and Bank will implement reasonable and appropriate
               safeguards to prevent unauthorized access to . . . the other party’s
               Confidential Information.

BIN Agreement ¶ 6.2A.

      ANSWER:         Cynergy admits that the quoted language is contained in ¶ 6.2A of the BIN

Agreement, which “BMO Harris and Cynergy each agreed to,” but denies the remaining

allegations in this paragraph.

       10.     The BIN Agreement requires express consent from the party whose
Confidential Information is sought to be disclosed prior to any such disclosure. BIN
Agreement ¶ 6.2B.
      ANSWER:         Cynergy lacks knowledge or information sufficient to form a belief
about the truth of the allegations in this paragraph.
       11.     The BIN Agreement further provides that

               Upon termination of this Agreement, the Recipient shall promptly
               deliver to the disclosing party of Confidential Information
               (“Disclosing Party”) all Confidential Information in its possession
               or under its control or, alternately, shall destroy the Disclosing
               Party’s Confidential Information and certify to such destruction;
               provided, however, that Confidential Information required by
               auditors, the Rules, or regulators to be retained bay be retained by
               the Recipient.

BIN Agreement ¶ 6.2C

      ANSWER:         Cynergy admits that the quoted language is contained in ¶ 6.2C of the BIN

Agreement.

       12.     On March 30, 2016, Cynergy, through its then-CEO Richard J. Harris, notified
BMO Harris in writing of its intention to terminate the BIN Agreement and transition to
sponsorship from Merrick Bank “no later than October 31, 2016.”
       ANSWER: Cynergy admits the allegations in this paragraph.
       13.     On or about October 31, 2016, Cynergy terminated the BIN
                                                 4
    Case: 1:18-cv-01459 Document #: 44 Filed: 05/29/18 Page 5 of 9 PageID #:219



 Agreement and transitioned to being sponsored by Merrick Bank.
         ANSWER: Cynergy admits the allegations in this paragraph.
         14.     Following that termination and transition, Cynergy failed to return or destroy
 the copies of the BMO Harris Confidential Information set forth in Exhibits A, B, and C to the
 BIN Agreement in its possession. Cynergy’s retention of BMO Harris’s Confidential
 Information was not in response to any requirement from auditors, the Associations, or
 regulators.
         ANSWER: Cynergy denies the allegations in this paragraph.
         15.     On February 27, 2018, Cynergy filed the BIN Agreement and Exhibits A, B,
 and C thereto publicly as attachments to the Complaint.
         ANSWER: Cynergy admits the allegations in this paragraph.
         16.     Cynergy’s public filing of these documents effected disclosure of
 Confidential Information to the general public.
         ANSWER: Cynergy denies the allegations in this paragraph.
         17.     The Confidential Information was not available to the general public
 prior to Cynergy’s disclosure.
         ANSWER: Cynergy lacks knowledge or information sufficient to form a
belief about the truth of the allegations in this paragraph.
         18.     Cynergy neither sought nor received any consent, express or implied,
 from BMO Harris prior to its disclosure of the Confidential Information.
         ANSWER: Cynergy admits that it did not seek consent from BMO Harris
before filing the Complaint and its exhibits, and denies the remaining allegations in this
paragraph.
         19.     By failing to return or destroy the Confidential Information, and then filing it
 publicly as an attachment to the Complaint, Cynergy has violated at least Paragraphs 6.2A, B,
 and C of the BIN Agreement.

                                                   5
     Case: 1:18-cv-01459 Document #: 44 Filed: 05/29/18 Page 6 of 9 PageID #:220



            ANSWER: Cynergy denies the allegations in this paragraph.

       COUNT I - BREACH OF BIN AGREEMENT’S CONFIDENTIALITY
       PROVISION
            20.    BMO Harris sets forth and realleges Paragraphs 1-17 as if fully set forth herein.

            ANSWER: Cynergy repeats and incorporates its answers to Paragraphs 1-
17 as if fully set forth herein.

            21.    The BIN Agreement between BMO Harris and Cynergy, dated October 23,
 2008, as subsequently amended, constitutes a valid and enforceable contract.

            ANSWER: This paragraph states a legal conclusion to which no answer is
required.

            22.    Under Paragraph 6.2A of the BIN Agreement, Cynergy is to retain in
 confidence the Confidential Information and all information and data belonging to or
 relating to BMO Harris’s business disclosed to Cynergy, to safeguard such information and
 data by using the same degree of care and discretion that it uses to protect its own
 Confidential Information, and to implement reasonable and appropriate safeguards to
 prevent unauthorized access to the Confidential Information. The Confidential Information
 was protectable and proprietary

            ANSWER: Cynergy denies the allegations in this paragraph.

            23.    Under Paragraph 6.2B of the BIN Agreement, Cynergy is to obtain BMO
 Harris’s express consent prior to any disclosure of the Confidential Information to third
 parties.
            ANSWER: Cynergy denies the allegations in this paragraph.
            24.    Under Paragraph 6.2C of the BIN Agreement, Cynergy was required to return
 or destroy any of the Confidential Information within its possession following the termination
 of the BIN Agreement.

                                                   6
     Case: 1:18-cv-01459 Document #: 44 Filed: 05/29/18 Page 7 of 9 PageID #:221



          ANSWER: Cynergy denies the allegations in this paragraph.
         25.      The pricing and related information set forth in Exhibits A, B, and C to the
 BIN Agreement constitute the Confidential Information.
         ANSWER: Cynergy denies the allegations in this paragraph.
         26.      By filing Exhibits A, B, and C to the BIN Agreement publicly as attachments to
 the Complaint, Cynergy breached Paragraphs 6.2A, B, and C of the BIN Agreement.
         ANSWER: Cynergy denies the allegations in this paragraph.
         27.      Cynergy’s breach of the BIN Agreement’s confidentiality provisions has been
 or is highly likely to be used by competitors to advance their own positions in the marketplace,
 causing harm to BMO Harris.
         ANSWER: Cynergy denies the allegations in this paragraph.
         WHEREFORE Defendant BMO Harris Bank N.A. respectfully requests that this
         Court:

                  a.         Enter judgment against Cynergy in an amount to be determined at trial
         plus attorneys’ fees and costs; and
                  b.         Order such relief as the Court may deem equitable, just, and proper.
                  c.         [sic]
         ANSWER:             To the extent any answer is required, Cynergy denies that BMO Harris
is entitled to any relief.

                                     AFFIRMATIVE DEFENSES
           Without assuming any burden of proof that it would not otherwise bear, Cynergy
 asserts the following affirmative defenses. Cynergy reserves the right to supplement or
 amend its affirmative defenses based on the discovery of new information, amendments to
 BMO Harris’s pleadings or any other papers submitted by BMO Harris, orders or rulings of




                                                     7
    Case: 1:18-cv-01459 Document #: 44 Filed: 05/29/18 Page 8 of 9 PageID #:222



 this Court, or as justice may otherwise require.

                             FIRST AFFIRMATIVE DEFENSE
          The Counterclaim fails to state a claim against upon which relief may be granted.

                            SECOND AFFIRMATIVE DEFENSE
          The Counterclaim is barred in whole or in part by the doctrines of waiver, laches,
 acquiescence, and/or unclean hands, because, among other things, BMO Harris waited 33
 days from the filing and service of the Complaint and exhibits to the Complaint to inform
 Cynergy of its belief that the exhibits contained confidential information, and did not take any
 action to seal the exhibits or otherwise protect its information during or even after that time.

                             THIRD AFFIRMATIVE DEFENSE
          The Counterclaim is barred in whole or in part because BMO Harris failed to take
 reasonable steps to mitigate its damages. Among other things, BMO Harris waited 33 days
 from the filing and services of the Complaint and exhibits to the Complaint to inform Cynergy
 of its belief that the exhibits contained confidential information, and did not take any action to
 seal the exhibits or otherwise protect its information during that time.

                            FOURTH AFFIRMATIVE DEFENSE
       The Counterclaim is barred in whole or in part because BMO Harris’s alleged damages,
if any, are speculative.

                             FIFTH AFFIRMATIVE DEFENSE
       The Counterclaim is barred in whole or in part because the information set forth in
Exhibits A, B, and C to the BIN Agreement is sufficiently out of date as to no longer constitute
Confidential Information under the BIN Agreement’s confidentiality provisions, and/or is
unlikely to be useful to or used by BMO Harris’s competitors.

                             SIXTH AFFIRMATIVE DEFENSE
       The Counterclaim is barred in whole or in part by BMO Harris’s prior material breach
of the BIN Sponsorship Agreement, including but not limited to as alleged in the Complaint.

                                                    8
    Case: 1:18-cv-01459 Document #: 44 Filed: 05/29/18 Page 9 of 9 PageID #:223



                         SEVENTH AFFIRMATIVE DEFENSE
       Cynergy is entitled to offset BMO Harris’s damages, if any, by amounts BMO Harris
owes to Cynergy, as alleged in the Complaint.


DATED: May 29, 2018

                                    Respectfully submitted,


                                    By: /s/ Thomas E. L. Dewey
                                           Thomas E. L. Dewey


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                                                9
